Case 2:03-cr-20428-.]PI\/| Document 35 Filed 08/04/05 Pagelof4 Page|D 50 §

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EM|LY ATKE|SON
Char|es Gilchristl Jr.. Retained
Defense Attorney
46 North Third Street, Suite 218
Memphis, TN 38103

 

JUDGMENT lN A CRIM|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the information on November 14, 2003.
Accordingly, the court has adjudicated that the defendant is guilty of the following
offense(s):

Date Count
Title & section Mif_am Offense mal
Conc|uded
21 U.S.C. § 841(a)(1) Possession with lntent to Distribute 05/15/2001 1

Oxycodone Hydrochloride (OxyContin)

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Restitution Act of 1996.

|T |S FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 04/15/1981 August 3, 2005
Deft’s U.S. Marsha| No.: 19283-076

Defendant’s |V|ailing Address:
4234 Running Brook Circle

Memphis, TN 38141 MMQ m GML

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August "1 ,2005

This document entered on the docket sheet in compliance
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Case No: 2:030R20428-01-Ml Defendant Name: Emily Atkeison Page 2 of 3

PROBATlON
The defendant is hereby placed on probation for a term of 1 Year.

While on probation, the defendant shall not commit another federal, state, or local
crime and shall not illegally possess a firearm. ammunition, destructive device, or
dangerous weapons. The defendant shall also comply with the standard conditions that
have been adopted by this court (set forth below). |f this judgment imposes a fine or a
restitution obligation, it shall be a condition of probation that the defendant pay any such file
or restitution.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from placement on
probation and at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave thejuclicial district without the permission of the court or probation ocher;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation ofncer for
schoolingl training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase. possess, use,

distributel or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physicianl and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributedl or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation ocher to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation ocher;

10. The defendant shall notify the probation ocher within 72 hours of being arrested or questioned by a
law enforcement officer;

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Case No: 2:03CR20428-01-M| Defendant Name: Emi|y Atkeison Page 3 of 3

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation ofticer, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirement

13. lf this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release

that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal Monetary Penalties sheet of this judgment.

ADD|T|ONAL COND|T|ONS OF PROBAT|ON

The defendant shall also comply with the following additional conditions of probation:

1. The defendant shall submit to drug testing and drug treatment programs as directed by the
Probation Ofncer.

2. The defendant shall seek and maintain full-time employment

3. The defendant shall maintain contact with the United States Attomey's Oftice.

CR|M|NAL MONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth ln the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). A|l of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution
$100.00

The Special Assessment shall be due immediately.

F|NE
No fine imposed.

REST|TUT|ON
No Restitution was ordered.

   

UNITED sTATE DRISTIC COURT - WESTERN DSTCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy ot` the document docketed as number 35 in
case 2:03-CR-20428 Was distributed by faX, mail, or direct printing on
August 4, 2005 to the parties listed.

 

 

Charles W. Gilchrist

LAW OFFICE OF CHARLES GILCHRIST
46 N. Third Street

Ste. 206

Memphis7 TN 38103

David Charles Henry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

